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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL BY THE OIL RIG     *    MDL NO. 2179
“DEEPWATER HORIZON” IN THE          *
GULF OF MEXICO, ON APRIL 20,        *    SECTION: J
2010                                *    JUDGE BARBIER
                                    *    MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO *
ALL ACTIONS                         *
                                    *
                                    *
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               BP’S REPLY BRIEF IN SUPPORT OF MOTION TO COMPEL
              HALLIBURTON ENERGY SERVICES, INC. TO PRODUCE
                      DOCUMENTS WRONGFULLY WITHHELD


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                                       INTRODUCTION

       Halliburton’s Opposition rests on a fundamental assumption that has marked

Halliburton’s approach to this dispute from the outset ― that documents must be presumed to be

privileged, if Halliburton counsel proclaims them to be privileged.

       This fundamental assumption is contrary to settled law, which holds that parties making

privilege claims bear the burden of establishing a privilege with “specific and precise” facts

supported by competent evidence. Here, the limited quantity of true “evidence” Halliburton cites

falls well short of successfully carrying such a burden.

       Moreover, it is particularly important here that Halliburton satisfy its burden and that the

Court’s September 27, 2011 Order be enforced. As described in BP’s opening submission,

Halliburton previously stated to this Court that post-incident activities relating to an analysis of

Sperry data and hydrocarbon zones conducted by Halliburton’s Roland Chemali fell “squarely

within work-product protection as [such activities were] performed at the direction of counsel in

preparation of litigation.” See Ex. A (9/8/2011 Halliburton Resp. to BP’s Mot. to Compel

Investigative Materials at 4). In fact, those statements turned out not to be accurate, and we now

know that none of Mr. Chemali’s post-incident activities were conducted at the direction of

counsel. See Ex. B (10/4/2011 e-mail from J. Martinez to Judge Shushan et al.). Had the Court

not required Halliburton to produce evidence substantiating its assertions about Mr. Chemali’s

post-incident activities, it is unlikely that the facts about the unprivileged nature of this work

would have emerged.

       Under such circumstances, it is critical that Halliburton be held to its burden of proof and

be required to provide proper substantiation for withholding documents on work-product

grounds. (To be clear, BP does not seek to compel the production of documents withheld based

on the attorney-client privilege.) The balance of this reply thus consists of three parts. Part I

demonstrates that, notwithstanding Halliburton’s contrary assertions, there is no genuine dispute

that the Ferguson Affidavit lacks the specificity required for this Court to fairly assess




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Halliburton’s blanket work product assertions. Part II shows the insufficiency of Halliburton’s

excuses for failing to provide adequate, competent evidence for its assertions. Part III rebuts

Halliburton’s specific contentions with respect to documents reflecting post-incident activities

undertaken by Ronald Sweatman, Thomas Roth, and Anthony Badalamenti.

       For all the reasons below, Halliburton should not be allowed to evade its discovery

obligations. Fundamental fairness demands that that, when properly called to do so, parties

invoking the work product doctrine must come forward with competent evidence that

corroborates the proper application of the doctrine.

                                         ARGUMENT

I.     There Is No Genuine Dispute that the Ferguson Affidavit Lacks the Requisite
       Specificity.

       There is nothing “detailed” about the contents of the Ferguson affidavit. Compare, e.g.,

Halliburton’s Opp’n to BP’s Mot. to Compel Halliburton to Produce Documents Wrongfully

Withheld (hereinafter “Opp’n”) at 5 (Dkt. 4935) (asserting the Affidavit provides “detailed

examples” of materials claimed to be subject to work product immunity).              Rather, Mr.

Ferguson’s Affidavit contains a single, conclusory sentence proclaiming that “HESI has, at the

direction of counsel, conducted factual inquiries in response to anticipated litigation and

government investigations that are covered by the attorney-client privilege and/or the work

product doctrine.”    See Ex. C (Aff. of James W. Ferguson) at 2 (hereinafter “Ferguson

Affidavit”). The only other arguably substantive information the Affidavit provides is found in

a single paragraph that sets forth a non-exclusive list of generic examples of broadly-described

activities that Halliburton contends were purportedly conducted at counsel’s direction. See id. at

3.

       There can be no genuine dispute that Mr. Ferguson’s Affidavit fails to contain basic

information concerning activities Halliburton contends are subject to the work product


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protection.   Specifically, the Affidavit fails to identify a single Halliburton employee or

consultant purportedly tasked by the legal department to conduct any of the activities Halliburton

contends are covered by the work product doctrine. The Affidavit fails to provide a single date

that could be used by the Court to determine when purportedly privileged activities were

commenced or concluded. And, finally, the Affidavit lacks details sufficient to establish that

preparing for litigation was the primary motivating purpose behind each of the activities

Halliburton seeks to shelter with work product protection.

II.     Neither of Halliburton’s Two Excuses Justify Its Failure to Provide the Required
        Specificity.

        Halliburton would justify the lack of substantive information in the Ferguson Affidavit on

two grounds: (1) the Court’s September 27, 2011 Order supposedly did not require Halliburton

to demonstrate that the disputed activities were conducted in “anticipation of litigation;” and (2)

requiring Halliburton to provide further specificity beyond the scant information in the Ferguson

Affidavit would supposedly place Halliburton in jeopardy of revealing privileged attorney-client

communications and/or work product information. Halliburton is wrong on both points.

        Halliburton first attempts to justify its failure to provide a detailed affidavit on grounds

that this Court’s September 27, 2011 Order required only that Halliburton provide a

demonstration that its post-incident activities were undertaken at the “direction of counsel” —

but not also a demonstration that such activities were conducted in “anticipation of litigation.”

See Opp’n at 5-6 (arguing that the cases cited by BP do not apply because they purportedly

address only the requirement to prove “anticipation of litigation”).

        But, by Halliburton’s own admission, settled law requires that parties asserting work

product immunity establish that the documents they have withheld were created in anticipation

of litigation. See id. at 4 (“[A] party asserting work-product protection must establish . . . [that



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the] primary motivating purpose behind creating the document [was] anticipation of litigation.”)

(emphasis added).     Moreover, Halliburton further admits that this requires evidence that

preparation for litigation was “the primary motivating purpose” behind the creation of the

documents, as opposed to some other non-litigation or business-related purpose. See id. at 6.

       In other words, the law requires (1) that any withheld documents have been created at the

direction of counsel; (2) that any such documents have been created in anticipation of litigation;

and (3) that this “in anticipation of litigation” element be established via proof that the primary

motivating purpose behind the individual document’s creation was to aid in litigation. See Elec.

Data Sys. Corp. v. Steingraber, No. 4:02 CV 225, 2003 WL 21653414, at *5 (E.D. Tex. July 9,

2003); see also Carroll v. Praxair, Inc., No. 2:05-cv-307, 2006 WL 1793656, at*1 (W.D. La.

June 28, 2006) (“The party seeking protection from work-product doctrine has burden of proving

documents were prepared in anticipation of litigation.”); Sonnino v. Univ. of Kan. Hosp. Auth.,

220 F.R.D. 633, 649 (D. Kan. 2004) (party asserting work product immunity “must provide

sufficient information to enable the court to determine whether each element of the asserted []

immunity is satisfied”) (emphasis added).

       Against this legal backdrop, this Court plainly predicated its September 27, 2011 Order

on Halliburton’s obligations to satisfy both elements of the work product doctrine. Indeed, last

summer, in seeking to compel Halliburton to produce its post-incident investigative materials,

BP specifically argued that it was Halliburton’s burden to establish that the relevant documents

were created in anticipation of litigation. See Ex. D (BP’s Aug. 29, 2011 Letter Br. to Judge

Shushan at 9; see also Ex. E (BP’s Sept. 16, 2011 Reply Br. to Judge Shushan in Supp. of an

Order Compelling Halliburton to Provide Documents and Witnesses Relating to Post-Incident

Investigations Not Performed at the Direction of Counsel) at 5. Notably, the Court expressly




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referenced cases cited in BP’s briefing in issuing in its September 27, 2011 Order requiring

Halliburton to provide affidavits specifically demonstrating the applicability of the work product

doctrine. See Ex. F (Sept. 27, 2011 Order Regarding BP’s Motion to Compel Halliburton

Investigation Materials) (hereinafter, the “September 27 Order”), at 4 (citing Evans v. United

Fire & Casualty Ins. Co., 2007 WL 23223363, at *3 (E.D. La. Aug. 9, 2007); Hodges, Grant &

Kaufman v. United States, 768 F.2d 719 (5th Cir. 1985); Pacamor Bearings, Inc. v. Minebea Co.,

918 F. Supp. 491, 513 (D.N.H. 1996)). Accordingly, there is no basis for suggesting that the

Court’s September 27, 2011 Order somehow relieves Halliburton from establishing “anticipation

of litigation.”

        Despite having failed to provide basic information concerning its purportedly privileged

activities, Halliburton next argues that “any further probe into such work would reveal HESI’s

privileged attorney-client communications and the very work product that is protected.” See

Opp’n at 6. But BP does not (and never has) argued that Halliburton must reveal the substantive

inner details of its purportedly privileged activities. Rather, the basic information BP contends is

required (but which Halliburton has declined to provide) consists of the following: (1) which

Halliburton employees purportedly conducted post-incident activities at the direction of counsel;

(2) when those activities were purportedly conducted; and (3) the specific purpose for which they

were undertaken. See BP’s Mem. in Supp. of Mot. to Compel Halliburton Energy Services, Inc.

to Produce Documents Wrongfully Withheld at 5; see also Ex. G (12/6/2011 BP letter to

Halliburton).

        Obviously, requiring Halliburton to provide affidavits stating the dates that purportedly

privileged work was conducted and identifying the names of Halliburton employees who

performed       purportedly   privileged   work   would   not   reveal   protected   attorney-client




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communications or any work product itself. Halliburton’s protestations to the contrary are

unpersuasive, given that Halliburton’s claims to have already disclosed this very information in

privilege logs (see Opp’n at 7)— even though the logs themselves do not constitute “evidence.”

See Evans v. United Fire & Cas. Ins. Co., Civil Action No. 06-6783, 2007 WL 2323363, at *4

(E.D. La. Aug. 9, 2007) (“The mere assertion of a lawyer in [an] opposition memorandum or in

[a] privilege log that materials were prepared in anticipation of litigation is not evidence

sufficient to bear the burden.”).

         Indeed, under Halliburton’s approach, Halliburton could well withhold almost any

material created by any Halliburton employee or consultant at any time since April 20, 2010 for

any purpose regarding any subject matter, based solely on broad identifications of “examples” of

purportedly protected work product, such as those found in the Ferguson Affidavit. See Ex. C

(Ferguson Aff. ¶ 6(D)). Clearly, the law does not permit such a result. See Nutmeg Ins. Co. v.

Atwell, Vogel & Sterling, 120 F.R.D. 504, 510 (W.D. La. 1988) (holding general allegations of

work product insufficient); Caruso v. Coleman Co., Civ. A. No. 93-CV-6733, 1995 WL 384602,

at *1 (E.D. Pa. June 22, 1995) (party asserting work product must provide “detailed affidavits”

or similar evidence); Pippenger v. Gruppe, 883 F. Supp. 1201, 1212 (S.D. Ind. 1994) (same);

Evans, 2007 WL 2323363, at *3 (“The party resisting discovery cannot rely merely on a blanket

assertion of privilege.”); Guardsmark, Inc. v. Blue Cross & Blue Shield, 206 F.R.D. 202, 210

(W.D. Tenn. 2002) (rejecting work product claim based solely on conclusory assertions).

III.     None of the Other Evidence Halliburton Cites Justifies Its Continued Withholding
         of Documents Reflecting the Post-Incident Activities of Ronald Sweatman, Thomas
         Roth, or Anthony Badalamenti.

         Contrary to Halliburton’s claim, BP does not assert that “HESI employees could not

perform post-incident activities at the direction of counsel and post-incident activities not at the

direction of counsel.” See Opp’n’n at 8. BP readily acknowledges that various Halliburton


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employees may have conducted work in the ordinary course of business as well as work at the

direction of counsel in anticipation of litigation.    But what BP does insist is that it is

Halliburton’s burden to prove (and not just assert) that the documents it contends are covered by

the work product doctrine merit such protection. Halliburton has failed to carry this burden for

documents reflecting post-incident activities undertaken by Ronald Sweatman, Thomas Roth,

and Anthony Badalamenti.

       A.      Halliburton Has Failed to Substantiate A Work Product Immunity For
               Documents Reflecting Ronald Sweatman’s Post-Incident Activities.
       Halliburton has failed to identify any evidence that substantiates its assertion that after

the April 20, 2010 incident Mr. Sweatman purportedly “did some work at the direction of

counsel.” See Opp’n at 9. Instead, Halliburton relies solely on assertions found in Halliburton’s

privilege logs. See id.

       But Halliburton’s privilege-log assertions do not constitute competent evidence, much

less evidence demonstrating that the work product doctrine is a proper basis to withhold

documents reflecting Mr. Sweatman’s activities. See Evans, 2007 WL 2323363, at *4 (“The

mere assertion of a lawyer in [an] opposition memorandum or in a privilege log that materials

were prepared in anticipation of litigation is not evidence sufficient to bear the burden.”). And

significantly, Halliburton offers nothing further — no deposition testimony, no affidavit

testimony, and no contemporaneous documentary evidence — to establish that any of Mr.

Sweatman’s post-incident activities were undertaken at the direction of counsel or to establish

that the primary motivation behind Mr. Sweatman’s post-incident activities was to aid the

defense of litigation. Accordingly, Halliburton should be required to produce all documents

reflecting Mr. Sweatman’s post-incident activities withheld solely on work product grounds.




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       B.      Halliburton Has Failed to Substantiate A Work Product Immunity For
               Documents Reflecting Thomas Roth’s Post-Incident Activities.
       To justify withholding documents reflecting Thomas Roth’s post-incident activities under

the work product doctrine, Halliburton cites three pieces of evidence: (1) testimony by Tim

Probert that Mr. Roth assisted Mr. Probert in preparing to testify before Congress on May 11,

2010; (2) testimony by Mr. Roth that he made various presentations to congressional and

industry groups in the period from July to September 2010; and (3) testimony by Mr. Roth that in

early October 2010, his job responsibilities shifted from collecting information to report to the

public to working “as a technical consultant with the [Halliburton] legal department.” See Opp’n

at 9-10. Although these bases for withholding documents could suffice, if properly supported,

the evidence Halliburton cites fails adequately to establish the factual underpinnings required for

work product protection.

               1.     Mr. Roth’s Activities Conducted Before October 2010

       None of the deposition testimony Halliburton cites demonstrates that anything Mr. Roth

did before October 2010 was done at the direction of counsel, much less in anticipation of

litigation. For example, none of the deposition testimony shows that the primary motivating

purpose behind Mr. Roth’s activities in this time period was to aid in the defense of litigation

rather than to serve non-litigation objectives. See Ex. H (Probert Dep. Tr. at 289:3-16); Ex. I

(Roth Dep. Tr. at 30:13-33:14). Similarly, neither Mr. Probert’s generic testimony that Mr. Roth

was involved in helping him prepare to testify before Congress, nor Mr. Roth’s testimony that he

met with congressional and industry leaders in the summer of 2010, constitute an assertion of the

essential element that Mr. Roth engaged in those activities at the direction of counsel. See Ex. H

(Probert Dep. Tr. at 289:3-16) (making no mention of any directives by counsel); Ex. I (Roth

Dep. Tr. at 30:13-33:14) (making no mention of any directives by counsel). If anything, Mr.



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Roth’s testimony that in early October 2010, his role shifted from collecting facts to provide to

the public to working with Halliburton’s legal department indicates that, before October 2010,

Mr. Roth’s activities were not performed for the primary purpose of preparing for litigation.

       To be clear, BP readily acknowledges that a work product privilege may properly apply

to the activities of employees undertaken at the direction of counsel that involve preparing

witnesses and draft presentation materials in the context of a governmental or Congressional

investigation conducted in the course of anticipated or ongoing litigation. But the crucial point

here is that the factual underpinnings of such work product protection cannot be assumed, but

must be provided. Here, as the party asserting the privilege, Halliburton was required — but

failed — to establish those requisite underpinnings with competent evidence.

               2.     Mr. Roth’s Activities Commencing in October 2010

       Even with respect to Mr. Roth’s activities beginning in October 2010, the conclusory

testimony cited by Halliburton does not itself establish that work product immunity applies to

any of Mr. Roth’s activities in that period. The work product doctrine “is not an umbrella that

shades all materials prepared by a lawyer, or agent of the client.” See Steingraber, No. 4:02 CV

225, 2003 WL 21653414, at *4. Here, neither the cited testimony nor the Ferguson Affidavit

contain facts sufficient to enable the Court to conclude that the primary motivating purpose for

any of Mr. Roth’s activities was to prepare for litigation. Accordingly, while some of Mr. Roth’s

activities commencing in October 2010 could well be subject to work product immunity,

Halliburton has failed to present evidence sufficient to enable the Court or BP adequately to

assess the extent to which work product immunity may or may not apply to the post-October

2010 documents Halliburton is withholding.




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       C.      Halliburton Has Failed to Substantiate A Work Product Immunity For
               Documents Reflecting Anthony Badalamenti’s Post-Incident Activities.
       To substantiate its assertion of work product immunity over documents reflecting

Mr. Badalamenti’s post-incident activities, Halliburton cites privilege-log entries and deposition

testimony that Mr. Badalamenti assisted Tim Probert to prepare for Congressional testimony.

See Opp’n at 10. But, as stated earlier, Halliburton’s privilege logs are not evidence capable of

substantiating any privilege or immunity. See Evans, 2007 WL 2323363, at *4. Moreover, there

is no evidence in the cited deposition testimony (or in the Ferguson Affidavit) that substantiates

Halliburton’s claim that Mr. Badalamenti conducted post-incident activities involving

preparation of testimony at the direction of counsel and with the primary motivation of assisting

in the defense of litigation (as opposed to a non-litigation or business-related objective).

       In short, although Mr. Badalamenti’s post-incident activities might well merit work

product protection if it were substantiated that the activities were undertaken at the direction of

counsel and in aid of litigation, here this essential substantiation is lacking.        Accordingly,

Halliburton should be required to produce documents reflecting Mr. Badalamenti’s post-incident

activities withheld solely on work product grounds.




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                                       CONCLUSION

       For all of the foregoing reasons, BP respectfully requests an order requiring Halliburton

to produce all post-incident investigative materials it continues to withhold improperly based

solely on unsubstantiated work product assertions.



Dated: December 23, 2011                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 23rd day of December, 2011.

                                                   /s/ Don K. Haycraft

                                                   Don K. Haycraft




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